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  N S:md
                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.       18-80160-CR-WPD


  UNITED STATES OF AMERICA,

  V.

  RAUL GORRIN BELISARIO,

                  Defendant.
  ____________                          /

                                    RELEASE OF LIS PENDENS

  GRANTEE(S): Eric Francois Sornnolet

  TO:      ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER ANY OF THE
           DEFENDANT(S) AND/OR GRANTEE(S) any interest in the real property described
           herein.

           NOTICE IS HEREBY GIVEN, that a Notice of Lis Pendens regarding real property

  located at 330 E. 57th Street, Apt. 9, New York, New York 10022, filed in proceedings before this

  Court, ECF No. 10, and recorded in N.Y. County, November 20, 2018, giving notice of the

  pendency of a criminal action in the U.S . District Court for the Southern District of Florida entitled

  United States of America v. Raul Gorrin Belisario, Case No. 18-20160-CR-WPD, is hereby

  released and discharged.

           The real property, including all buildings, improvements, fixtures, attachments and

           easements found therein or thereon, is more particularly described as:

           The Condominium Unit (hereinafter referred to as the "Unit") known as Unit 9 at The 330
           East 57th Street Condominium (hereinafter referred to as the "Condominium"), located at
           330 East 57th Street, Borough of Manhattan, County, City and State of New York,
           designated and described as Unit 9 in the Declaration establishing a plan for condominium
           ownership of said Building and the land upon which it is situate (hereinafter referred to the
           "Land") under Article 9-B of the Real Property Law of the State of New York, dated
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        October 31 , 2006 and recorded on September 14, 2007, in the Office of the Register of the
        City of New York, County of New York, as CRFN 2007000474143 , as amended
        (hereinafter collectively referred to as the "Declaration"). Said Unit is also designated as
        Tax Lot No. 1108 in Block 1349 Section 5, of the Borough of Manhattan on the Tax Map
        of the Real Property Assessment Department of the City of New York and on the Floor
        Plans of the Building certified by Dinardo Fort-Erescia, Architects, on November 20, 2006
        and filed on December 1, 2006 with the Real Property Assessment Department of the City
        ofNew York as Condominium Plan No. 1632 and also filed with the City Register's Office
        on September 14, 2007 as Condominium Map No 2007000474144.

        ALL THAT CERTAIN plot, piece or parcel ofland erected, situate, lying and being in the
        Borough of Manhattan, City, County and State of New York, bounded and described as
        follows:

        BEGINNING at a point on the Southwesterly side of East 57th Street (as now open and in
        use, 100 feet wide) distant 325 feet and O inches Northwesterly from a comer formed by
        the intersection of said Southwesterly side of East 57th Street and the Northwesterly
        side of First Avenue (as now open and in use, 100 feet wide);

        RUNNING THENCE Southwesterly and parallel with the Northwesterly side of First
        Avenue, 64 feet and 2 inches;

        THENCE Northwesterly and parallel with the Southwesterly side of East 57th Street 11
        feet O inches;

        THENCE Southwesterly and parallel with the Northwesterly side of First Avenue 49 feet
        3 inches;

        THENCE Northwesterly and parallel with the Southwesterly side of East 57th Street 21
        feet O inches;

        THENCE Northeasterly and parallel with the Northwesterly side of First Avenue, 51 feet
        8 1/4 inches;

        THENCE Northerly along a line forming an interior angle of 245 degrees 28 minutes 10
        seconds with the last mentioned line 5 feet and 9 1/4 inches;

        THENCE Northeasterly and parallel with the Northwesterly side of First Avenue 59 feet 4
        inches to the Southwesterly side of East 57th Street;

        THENCE Southeasterly along the Southwesterly side of East 57th Street 37 feet 3 inches
        to the point or place of BEGINNING.
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         Together with an undivided 6.9378% interest in the General Common Elements (as such
         terms are defined in the Declaration);

         Together with the appurtenances and all the estate and rights of the Grantor in and to the
         Unit;

         Together with, and subject to, the rights, obligations, easements, restrictions and other
         provisions set forth in the Declaration and the By-Laws of The 330 East 57th Street
         Condominium, as the same may be amended from time to time (hereinafter referred to as
         the "By-Laws"), all of which shall constitute covenants running with the property and shall
         bind any person having at any time any interest or estate in the Unit, as though recited and
         stipulated at length herein.




                                                       Respectfully submitted,

                                                       ARIANA FAJARDO ORSHAN
                                                       UNITED STATES ATTORNEY

                                               By:    s/ Nalina Sombuntham p1
                                                      Nalina Sombuntham 7
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 8, 2019, I electronically filed the foregoing Release

  of Lis Pendens with the Clerk of the Court using CM/ECF.

                                               s/Nalina Sombuntham
                                               Nalina Sombuntham
                                               Assistant United States Attorney



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